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                       EXHIBIT A
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                                          AGREEMENT

       WHEREAS Defendant United States Postal Service (“USPS”) asserts that it is

committed to the timely and secure delivery of Election Mail; and represents that it has, pursuant

to that commitment, issued memoranda on December 8 and December 14, 2020, attached hereto

as Exhibits 1 and 2, setting forth policies and procedures relating to Election Mail for the

January 5, 2021 runoff elections in Georgia (the “Georgia Runoff Elections”), and has begun

implementing the policies therein;

       WHEREAS USPS denies that it has in any way impeded the timely delivery of Election

Mail and also denies that any additional measures USPS will implement under this agreement

beyond those contemplated and being implemented pursuant to the December 8 and December

14, 2020 memoranda are necessary to ensure the expeditious and secure delivery of ballots;

       WHEREAS Plaintiffs note that the reported processing scores for ballots in the Atlanta

District have fallen materially below the USPS service standards since December 8;

       WHEREAS Plaintiffs contend that certain of Defendants’ policies regarding the Georgia

Runoff Elections should be enjoined to ensure the timely delivery of mail ballots for the Georgia

Runoff Elections;

       WHEREAS absent an agreement, Plaintiffs would file a motion to obtain judicial relief

with respect to the matters set forth in this agreement;

       WHEREAS, the Parties have nonetheless reached agreement as a means to avoid the cost

and burden of further litigation between now and the Georgia Runoff Elections.




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       1. USPS shall implement the policies articulated in the memoranda issued by USPS

on December 8 and December 14, attached hereto as Exhibits 1 and 2, for the Georgia

Runoff Elections.

       2. USPS shall continue to use Express Mail and to bear the corresponding costs to

deliver ballots from Albany, New York to the Georgia counties that have contracted with

Fort Orange Press to print ballots for the Georgia Runoff Elections.

       3. USPS shall continue to implement the following additional measures for the

Georgia Runoff Elections, to ensure the timely delivery of mail ballots.

           a. From January 2 through January 4, all ballots identified in processing plants

               that are subject to a 3-day service standard shall be placed into the Express

               Mail network.

           b. Through January 5, 2021, all Post Offices in the Atlanta District that serve a

               Georgia Board of Elections (“BOE”) shall continue to postmark and deliver

               ballots to the BOE, rather than having the ballots placed into the automation

               flow. For days on which the Postal Service is not operating or the BOE is not

               open, ballots will be delivered the next day that both the Postal Service and

               the BOE are open.

           c. Post Offices and Delivery Units that service or are in close proximity to a

               local BOE in the Atlanta District shall establish a hub-and-spoke process for

               delivering inbound ballots to the local BOE on January 2, 2021, if the BOE is

               open, whereby ballots are postmarked at the local retail unit and delivered to

               the local BOE before it closes for the day. Post Offices shall coordinate the

               hand-off with the local BOE.




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           d. No later than 10:00 a.m. on December 30, Defendants shall provide Plaintiffs

               with a list of the Post Offices in the Atlanta District that have established local

               hub-and-spoke arrangements for January 2 pursuant to paragraph 3(c) to the

               best of their knowledge at the time, acknowledging that this information may

               be subject to change based on BOE status.

           e. On Monday, January 4, for non-local BOE deliveries where it is reasonably

               possible to effectuate delivery by the time the BOE closes on January 4, Post

               Offices and Delivery Units in the Atlanta District shall establish an Election

               Mail “hub-and-spoke” process specifically for transporting ballots on January

               4, using pre-identified drivers and vehicles staged to run trips.

           f. By 10:00 a.m. on December 29, USPS shall take steps to confirm that all Post

               Offices and Delivery Units in the Atlanta District (i) will be prepared to

               participate in the hub-and-spoke process for January 4 pursuant to paragraph

               3(e) if it is reasonably possible to effectuate delivery by the time a BOE closes

               on January 4, and (ii) shall identify those facilities that are unable to be

               prepared to participate in a hub-and-spoke process for January 4 and the

               reasons why.

       4. USPS processing facilities that serve Georgia ZIP codes shall undertake the

following ballot sweep and certification process.

           a. From December 28 through January 5, each processing facility shall

               undertake a sweep of the facility in the morning as part of the “All Clear”

               process to identify any inbound ballots and shall ensure that any inbound

               ballots in the facility are dispatched or staged for expedited delivery.




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           b. Each processing facility shall also conduct an afternoon sweep on January 4

              and January 5, to identify any inbound ballots, and shall ensure that any

              inbound ballots in the facility are expedited for delivery. The afternoon sweep

              on January 5 shall be conducted at a time sufficient for the ballots to be

              delivered to the BOEs served by that facility by 7:00 p.m. local time on

              January 5, 2021, consistent with the December 14 memorandum.

           c. Each plant shall promptly report to USPS Headquarters the total number of

              ballots identified in the morning and afternoon ballot sweeps undertaken

              pursuant to Paragraphs 4(a) and 4(b) and confirm that those ballots have been

              expedited for delivery (or staged for expedited delivery, as appropriate, from

              December 28 through January 3). USPS shall provide to Plaintiffs, on the

              same day that the sweeps are conducted, documentation reflecting the number

              of ballots identified in each sweep at each plant.

           d. From December 29 through January 5, each processing facility serving

              Georgia ZIP codes shall put plans in place to clear their local ballots daily to

              delivery offices and/or local pickup. Plant managers are required to certify an

              “All Clear” by 10:00 a.m. local time daily, that the ballot mail is clear. USPS

              shall promptly provide to Plaintiffs documentation of the “All Clear”

              certifications required by this sub-paragraph.

       5. USPS shall coordinate with the Georgia BOEs to make arrangements to deliver all

inbound ballots to the BOE before 7:00 p.m. local time on January 5, 2020. No later than

1:00 p.m. ET on December 30, USPS shall provide Plaintiffs with a document providing

details of the arrangements pursuant to this paragraph. This document shall be comparable in




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form and content to the reporting previously provided in this litigation, e.g., ECF Nos. 93 &

105.

       6. No later than 10:00 a.m. on December 28, 2020, USPS shall convey the

requirements of this agreement to the relevant managerial and supervisory personnel at the

facilities serving Georgia ZIP codes, both in writing and orally, and to other USPS

employees as necessary to ensure compliance with the terms of this Agreement. USPS shall

promptly provide Plaintiffs with the written communications required by this paragraph.

       7. USPS shall promptly investigate any plausible reports of delayed ballots and will

use best efforts to expedite any delayed ballots for delivery by 7:00 p.m. local time on

January 5, 2021.

       8. Subject to Defendants’ compliance with the above provisions of this agreement

and the Court Orders dated September 28 (ECF Nos. 31, 32), October 27 (Minute Order in

light of ECF No. 33), November 6 (Minute Order in light of ECF No. 99), and November 19

(Minute Order in light of ECF Nos. 113, 114), Plaintiffs agree not to seek any relief

regarding USPS’s policies and procedures for the Georgia Runoff Elections beyond

enforcement of the above provisions and the Court Orders dated September 28, October 27,

November 6, and November 19. Before Plaintiffs may bring a motion to enforce this

Agreement, the parties will conduct a meet-and-confer to determine whether they may

resolve this dispute without court involvement. No party shall contest the jurisdiction of the

Court to enforce this Agreement.

       9. The Parties reserve their rights in this litigation and nothing in this Agreement is

intended to waive such rights or constitute an admission of liability unless that waiver is

expressly set forth in this Agreement.




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December 23, 2020

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                       EXHIBIT 1
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                        EXHIBIT 2
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From:             Bray, Kevin P - Washington, DC
To:                Division Directors; Anderson, Timothy - Bloomingdale, IL; Bray, Kevin P - Washington, DC; Cariyadil, Blesson -
                  Carol Stream, IL; Kennedy, Raymond - Washington, DC; Ko, Jeremy H - Washington, DC; Malone, Dennis M -
                  Greensboro, NC; Powell Amy S - Pittsburgh, PA; Seo, Donghwan - Washington, DC
Cc:                Plant Mgr - Chesapeake; Plant Mgr - Coastal Southest; Plant Mgr - Lakeshores; Plant Mgr - Mid-Atlantic;
                   Plant Mgr - Mid-South; Plant Mgr - Midwest; Plant Mgr - New England; Plant Mgr - New York Metro; Plant
                  Mgr - Pacific Northwest; Plant Mgr - Southern California; Plant Mgr - Southwest; Plant Mgr - Westshore
Subject:          Georgia Runoff Extraordinary Measures Letter and Priority Express
Date:             Monday, December 14, 2020 12:41:34 PM
Attachments:      2020 12 14 Extraordinary Measures.pdf
                  Stand-Up Talk - Use of Express Network for Ballots Georgia Runoff.pdf
Importance:       High


         The attached document concerns the upcoming Georgia runoff election on January 5, 2021,
         and provides guidance to the eight plants that service the delivery ZIP Codes in the state that
         will be processing Election Mail for that runoff election. This document discusses steps that
         must be taken before December 28 in those plants in preparation, as well as procedures
         during the period between December 28 and January 5. As the memo discusses, these
         extraordinary measures should be deployed between Monday, December 28, 2020, and
         Tuesday, January 5, 2021. All other existing processes, procedures, and previously issued
         instructions for the timely and efficient handling of Election Mail still remain in effect for the
         Georgia runoff election. If you have any questions, please contact Kevin Bray at (
               and

         The 8 plants that are servicing the State of Georgia destinating letter mail are included
         below.

         The plants listed below have direct responsibility for the delivery of mail within the State of
         Georgia, however all plants will potentially have Inbound ballots that come through your
         originating operation. All plants must implement the Priority Mail Express network if any
         State of Georgia live Inbound ballot is found in their origin operation starting December 28-
         Jan 5th, 2021
         Please ensure we have this Stand Up Talks (SUT) accomplished for all of our employees

         Atlanta GA (301-303, 311)
         North Metro GA (300, 305, 306)
         Macon GA (304, 310, 312, 318, 319, 398)
         Augusta GA (308, 309)
         Tallahassee FL (316, 317)
         Jacksonville FL (313-315)
         Chattanooga TN (307)
         Columbia SC (308-309 for Saturday Originating AMP only)
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Mandatory Stand-Up Talk
Dec. 14, 2020

Use of Express Network for Ballots
Extraordinary measures

As the January 5th Georgia runoff election draws closer, the Postal Service will be
incorporating “extraordinary measures” into our day-to-day operations to ensure the
proper handling and timely delivery of all Election Mail, as we did during the November
3rd general elections.

One such measure is the use of the Express Mail Network to expedite ballot mail when
the ballot would not otherwise be able to reach the destination via the regular First
Class mailstream. Starting December 28, 2020 and through January 5, 2021, facilities
located outside of Georgia must use the Express Mail Network if the following
conditions are met:

   x    The ballot is destined outside the local service area
   x    The ballot would not arrive to the destination in time to meet Georgia’s January 5,
        2021 Election Day deadline (7:00 p.m. EST) if processed in the regular First
        Class mailstream

Ballots that meet these conditions should be placed in a sleeved half-tray or full-sized
tray, with a slide label for the destinating plant according to the Express Mail label list.
The tray may then be placed inside an Express Mail sack.

Prior approval is not required to enact these extraordinary measures; however, the
following information must be documented:

   x    Date of Express Mail dispatch
   x    Name of the relevant Board of Elections
   x    Name of the destinating plant
   x    Approximate number of pieces

Send the completed spreadsheet to your Division Director and to the NOCC on
each operational day that the Express Mail Network is utilized to expedite ballots.

For facilities located in or that directly serve a Georgia ZIP Code, the Express Mail
Network should also be utilized to accelerate the delivery of ballots between processing
facilities serving the state of Georgia unless other modes of transportation are faster.

Election Mail must continue to be the Postal Service’s No. 1 priority.

       Thank you in advance for your hard work in fulfilling the Postal
              Service’s commitment to the American public.
